                  Case 23-20510-LMI       Doc 26     Filed 02/19/24    Page 1 of 1




                           UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    Miami-Dade Division
In Re:

Verdell Renee Sands-Hollis,                                     CASE NO. 23-20510-BKC-LMI
                                                                Chapter 13
                     Debtor. /

              RESPONSE TO TRUSTEE’S OBJECTION TO EXEMPTIONS [DE 17]

   COMES NOW THE DEBTOR, Verdell Renee Sands-Hollis, by and through the undersigned attorney,
and files this Response to Trustee’s Objection to Exemptions [DE 17] (“Objection”), and states as
follows:

         1.   Debtor is before this Court by virtue of a Chapter 13 bankruptcy filing on December 19,
              2023.

         2.   The Chapter 13 Trustee, Nancy Neidich (“Trustee”) filed an objection to exemptions
              specifically in regard to Debtor’s assets titled as Tenants by the Entireties and the
              exemption allowed for the same.

         3.   Debtor has uploaded a copy of her non-filing spouse (“spouse”)’s credit report verifying
              that no joint debt exists, and Certificate of Marriage to the Trustee.

         4.   Debtor has contemporaneously filed a Motion to Determine Tenancy by the Entireties
              Ownership [DE 23] set for hearing on March 5, 2024.

         5.   Trustee’s Objection checked off valuation issues regarding Debtor’s banking statement not
              received until after the date of filing. The banking statement which includes the date of
              filing has been uploaded to Trustee and Schedule A/B amended to reduce the value of the
              banking account to reflect the amount in the accounts on the date of filing.

         6.   Trustee’s Objection questioned Debtor’s annuity plan date of issue and source of funds.
              Annuity documents showing this 403(b) plan’s date of issue as April 27, 2010 and source
              of funds from payroll deductions, have been uploaded to Trustee.

         7.   Debtor contends that her claimed exemptions should be sustained.


                                                  By:   /s/ Aron Szabo
                                                         Aron Szabo, Esq.
                                                         Florida Bar No. 0105602

                                                         Szabo Law Group, P.A.
                                                         Attorney for the Debtors
                                                         1401 Sawgrass Corporate Parkway
                                                         Fort Lauderdale, FL 33323
                                                         Telephone No.: (954) 210-6054
                                                         Facsimile No.: (954) 337-0522
                                                         Email Address: aron@szabolawgroup.com
